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                              UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                        Case No. 15CR2932-H

                                     Plaintiff,
                     vs.
                                                        JUDGMENT OF DISMISSAL
JOSEPH PALERMO,

                                   Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

     an indictment has been filed in another case against the defendant and the Court has
o    granted the motion of the Government for dismissal of this case, without prejudice; or

o    the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal, with prejudice; or

o    the Court has granted the motion of the defendant for a judgment of acquittal; or

o    a jury has been waived, and the Court has found the defendant not guilty; or

o    the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the Superseding Information:
      18:1084 - Transmitting Wagering Information




Dated:
                                                     on. Louisa S. P ITer
                                                    United States Magistrate Judge
